Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 1 of 12 PageID #: 288


                                    22 Civ. 5109 (FB)(VMS)

                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK



                                    SALVATORE J. GRECO,

                                                                                  Plaintiff,

                                                          - against -

                                    CITY OF NEW YORK, ET AL.,

                                                                               Defendants.




                                    DEFENDANTS’ REPLY MEMORANDUM OF LAW
                                    IN FURTHER SUPPORT OF THEIR MOTION TO
                                    DISMISS THE SECOND AMENDED COMPLAINT


                                              HON. SYLVIA O. HINDS-RADIX
                                          Corporation Counsel of the City of New York
                                              Attorney for Defendants
                                              100 Church Street
                                              New York, N.Y. 10007

                                               Of Counsel: Andrea O’Connor
                                               Tel: (212) 356-4015
                                               Matter No. 2022-053007
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 2 of 12 PageID #: 289




                                                   TABLE OF CONTENTS

                                                                                                                                      Page

 PRELIMINARY STATEMENT .................................................................................................... 1

 ARGUMENT

           A.         Plaintiff’s First Amendment Intimate Association Claim .......................................... 2

           B.         Plaintiff’s First Amendment Expressive Association Claim ...................................... 4

           C.         Plaintiff’s New York Labor Law Claim....................................................................... 7

           D.         Plaintiff’s Monell Claim ............................................................................................. 8

           E.         Plaintiff’s Newfangled Article 78 Claim ..................................................................... 8

           F.         Individual Defendants Are Entitled to Qualified Immunity ........................................... 9

 CONCLUSION ............................................................................................................................. 10
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 3 of 12 PageID #: 290




                                   PRELIMINARY STATEMENT

                 The arguments made in Plaintiff’s Memorandum of Law in Opposition to

 Defendants’ Motion to Dismiss, dated April 24, 2023 (“Plaintiff’s Opposition”), are insufficient

 to avoid dismissal of the Second Amended Complaint (“SAC”). Plaintiff’s irrelevant arguments

 about the use of “arrest record data,” conspiracy-laced musings regarding the Congressional Select

 Committee to Investigate the January 6, 2021 Attacks on the U.S. Capital and repeated references

 to recording artist Cardi B’s performance of community service at a NYPD facility do nothing to

 save his constitutional claims.

                 Even with these sensational arguments, plaintiff is unable to establish a First

 Amendment violation based on either an intimate association claim or an expressive conduct

 claim. Plaintiff’s Opposition fails to cure the fatal defect with respect to his intimate association

 claim; namely, that he fails to plead a protected “intimate relationship” that would give rise to a

 cognizable intimate association claim. This is an end to his intimate association claim. Plaintiff’s

 expressive conduct claim meets the same fate given that the SAC and Plaintiff’s Opposition fail to

 allege that plaintiff engaged in expressive or associational conduct of any sort, let alone for the

 purpose of engaging in First Amendment protected activity. Thus, his First Amendment claims

 fail as a matter of law.

                 As for plaintiff’s claim under § 201-d of the New York State Labor Law, plaintiff

 is of the mistaken belief that because he has asserted a First Amendment claim, he has also set

 forth a claim under § 201-d. Not so. Section § 201-d defines “political activities” as (i) running

 for public office, (ii) campaigning for a candidate for public office, or (iii) participating in fund-

 raising activities for the benefit of a candidate, political party or political advocacy group. Plaintiff

 has not alleged that he engaged in any of those activities. Thus, plaintiff’s New York Labor Law

 claim must be dismissed as a matter of law. Finally, Plaintiff’s Opposition does nothing to save
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 4 of 12 PageID #: 291




 his Monell claim against the City because he does not plausibly allege that a municipal policy or

 custom caused the violation of his constitutional rights and, in any event, the individual defendants

 in this action are entitled to qualified immunity.

                Accordingly, for the reasons outlined below and in defendants’ moving papers,

 defendants respectfully request that the Court grant their motion to dismiss in its entirety.

                                            ARGUMENT

 A.     Plaintiff’s First Amendment Intimate Association Claim

                Contrary to Plaintiff’s Opposition, at the motion to dismiss stage, the Court must

 resolve the threshold question of whether the relationship at issue is entitled to constitutional

 protection as a matter of law. Stalter v. Cty. of Orange, No. 15-CV-5274, 2016 U.S. Dist. LEXIS

 104237, at *8 (S.D.N.Y. Aug. 5, 2016). This determination “is necessarily premised upon the

 description of the relationship in the operative pleadings.” Id. Thus, at this stage, the Court must

 determine whether plaintiff has sufficiently alleged that his relationships with Mr. Stone, Ms.

 Davis and unidentified members of the OATH Keepers, Proud Boys and “others” are the type of

 highly intimate relationships afforded constitutional protection.

                In support of his intimate association claim, plaintiff merely restates that he has a

 “personal ‘familial’ association[] with Roger Jason Stone, Jr., Kristin M. Davis, members of the

 OATH Keepers, Proud Boys and others who support Trump’s America and the ‘political’

 paradigm of ‘Making America Great’ again” that are entitled to constitutional protection.

 Plaintiff’s Opposition at 13. Plaintiff provides no additional description or context as to the nature

 of these “personal and ‘familial’ relationships.” See generally Plaintiff’s Opposition. Rather,

 plaintiff generally argues that intimate association claims can be based on relationships outside of

 the marital context. On that point, defendants agree. But this general proposition does not save

 plaintiff’s intimate association claim.

                                                      2
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 5 of 12 PageID #: 292




                Taking first plaintiff’s claim that he has a constitutionally protected relationship

 with unidentified “members of the OATH Keepers, Proud Boys and others who support Trump’s

 America and the ‘political’ paradigm of ‘Making America Great’ again,” Plaintiff’s Opposition

 does not address the factors delineated by the Supreme Court in Bd. of Dirs. of Rotary Int’l v.

 Rotary Club of Duarte regarding whether an individual’s association with a particular group is

 “personal or private” enough to warrant constitutional protection. 481 U.S. 537, 546 (1987). To

 be sure, Plaintiff’s Opposition is silent as to the “size, purpose, selectivity, and whether others are

 excluded from critical aspects of the relationship.” Id. Similarly, the SAC contains no allegations

 regarding the size or selectively of the OATH Keepers, Proud Boys or “others who support

 Trump’s America,” nor does it contain any allegations as to whether others are excluded from

 “critical aspects of the relationship.” Thus, plaintiff, as a matter of law, cannot establish an

 intimate association claim based on these alleged affiliations.

                Turning next to plaintiff’s relationship with Mr. Stone, Plaintiff’s Opposition does

 not refute that plaintiff and Mr. Stone were, or are, friends. Plaintiff’s Opposition also does not

 provide any caselaw in which a Court has accepted an intimate association claim based on a

 friendship. See generally Plaintiff’s Opposition. Rather, in support of his general proposition that

 an intimate association claim can be maintained based on non-marital relationships, plaintiff cites

 to Matusick v. Erie Cty. Water Auth., 757 F.3d 31 (2d Cir. 2014). In Matusick, the plaintiff, a

 white male, claimed his employer harassed and terminated him because of his romantic

 relationship with an African-American woman, Anita Starks, who, at the time of the harassment

 and termination, was his fiancé. Id. at 37-38. In holding that the plaintiff’s relationship with Ms.

 Starks was entitled to constitutional protection, the Court noted that: “they were involved in a long-

 term romantic relationship, held themselves out as engaged and were recognized as such,



                                                   3
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 6 of 12 PageID #: 293




 maintained together a relationship with Starks’ children, and shared significant features of their

 private life together in anticipation of marriage.” Id. at 59-60. Therefore, the Court held that

 because the relationship was “marked by the same characteristics of deep attachment,

 commitment, and self-identification that Roberts [v. United States Jaycees, 468 U.S. 609 (1984)]

 and its progeny have viewed as characteristic of constitutionally protected intimate association.”

 Id. at 59.

                The same cannot be said for plaintiff’s vague “personal and familial” relationship

 with Mr. Stone. The SAC alleges that plaintiff provided deposition testimony to the Congressional

 Select Committee to Investigate the January 6th Attack on the U.S. Capitol and in that deposition

 testified that he and Mr. Stone are “friends and family since 2018.” See SAC at ¶ 89. Plaintiff and

 Mr. Stone, however, are not family. Nor has plaintiff alleged that his relationship with Mr. Stone

 is based on the “creation and sustenance of a family” - given that marriage, childbirth, the raising

 and education of children, and cohabitation are not alleged to exist here. See Roberts, 468 U.S. at

 619. Here, the allegations regarding plaintiff’s relationship with Mr. Stone demonstrate that, at

 best, they are close friends.    This friendship, however close, is not afforded constitutional

 protection.

                Finally, with respect to plaintiff’s alleged relationship with Ms. Davis, the

 allegations are even more sparse. In fact, with respect to Ms. Davis, plaintiff only repeats the

 boilerplate allegation that he has a “personal ‘familial’ and ‘political’ relationship” with Ms. Davis

 with no other details whatsoever. Thus, lacking specifics, plaintiff’s relationship with Ms. Davis

 cannot be afforded constitutional protection.

 B.      Plaintiff’s First Amendment Expressive Association Claim

                As with plaintiff’s intimate association claim, his expressive association claim fails

 as a matter of law. Plaintiff’s Opposition argues that a public employee cannot be terminated
                                                   4
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 7 of 12 PageID #: 294




 solely because of his political beliefs. See Plaintiff’s Opposition at 14-15. This perfunctory

 assertion does nothing to save plaintiff’s expressive association claim for two reasons.

                 First, the SAC contains absolutely no allegations regarding plaintiff’s political

 beliefs or activities. Plaintiff does not allege that he “supports Trump’s America and the political

 paradigm of Making America Great Again.” Nor does plaintiff allege that he is or was a member

 or supporter of the OATH Keepers and/or the Proud Boys. Plaintiff goes so far as to affirmatively

 state in his SAC that he “knew nothing about whether [Mr.] Stone assisted President Donald J.

 Trump with the 2020 Presidential election.” SAC at ¶ 91. These glaring omissions coupled with

 plaintiff’s complete ignorance as to Mr. Stone’s political activities are fatal to plaintiff’s claim that

 he was terminated because of some unspecified political beliefs or activities.

                 Even the 1993 Western District of New York decision that plaintiff relies heavily

 on in his opposition fails to resuscitate his expressive activity claim. In Dembitsky v. Maruca, 91-

 CV-0503E(F), 1993 U.S. Dist. LEXIS 10399 (W.D.N.Y. July 27, 1993), the plaintiff alleged that

 members of the Town Board for the Town of Niagara voted to abolish his position, thereby

 terminating his employment, because he publicly supported the Board members’ political

 adversaries. See 1993 U.S. Dist. LEXIS 10399 at *14-15. In dismissing the plaintiff’s First

 Amendment claim, the Court held that the “connection between [plaintiff’s] political affiliation

 and the abolishment of his position [wa]s too tenuous.” Id. at *20. The same can be said here

 given that plaintiff has not alleged what his political affiliations are and has no knowledge of Mr.

 Stone’s political activities.

                 Second, plaintiff’s argument that he was terminated solely because of his political

 beliefs is demonstrably false. Plaintiff was not terminated because of his political beliefs. Rather,

 he was terminated because he violated the Patrol Guide by knowingly associating with convicted



                                                    5
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 8 of 12 PageID #: 295




 felons and providing armed security for a convicted felon. See O’Connor Decl. Ex. B, Report and

 Recommendation, dated June 10, 2022, at p. 25. To be sure, the SAC confirms that plaintiff was

 knowingly associating with convicted felons, i.e. Mr. Stone and Ms. Davis, and therefore it is

 undisputed that plaintiff engaged in the misconduct that led to his termination. Thus, plaintiff’s

 own pleading does not support his argument that he was terminated solely because of his

 unidentified political beliefs.

                 Furthermore, and as detailed in defendants’ moving brief, plaintiff does not allege

 that he engaged in any constitutionally protected expressive or associational conduct. The SAC

 contains no allegations that plaintiff was associating with Mr. Stone, Ms. Davis and/or members

 of the OATH Keepers and Proud Boys for the purpose of engaging in First Amendment protected

 activity, namely speech, assembly, petition for the redress of grievances, and the exercise of

 religion. In fact, the SAC does not detail any conduct or speech engaged in by plaintiff or these

 individuals and groups whatsoever, let alone expressive activity entitled to First Amendment

 protections. This is an end to his expressive association claim as a matter of law.

                 Plaintiff’s Opposition completely ignores defendants’ argument that even if

 plaintiff had alleged some expressive conduct or speech, he fails to allege any facts demonstrating

 that such conduct or speech was on a matter of public concern. Plaintiff’s friendship with Mr.

 Stone and Ms. David are not of public concern. Similarly, the fact that the NYPD’s investigation

 revealed that plaintiff’s Instagram account contained pictures of himself with members of the

 OATH Keepers and Proud Boys and that he was present in a hotel room with members of OATH

 Keepers on January 5, 2021 is not of public concern. Given that this is the only arguable expressive

 conduct even remotely articulated in the SAC, his expressive conduct claim must fail.




                                                  6
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 9 of 12 PageID #: 296




                    Finally, Plaintiff’s Opposition also ignores defendants’ argument that even

 assuming plaintiff had articulated some expressive conduct or speech and alleged that such

 conduct or speech was on a matter of public concern, his claim still fails because when an

 employee’s speech on a matter of public concern is sufficiently disruptive to government

 operations such that the disruption outweighs the value of the speech, a public employer may take

 an adverse employment action against the employee. See Pickering v. Board of Education, 391

 U.S. 563, 568 (1968); Blackman v. New York City Transit Authority, 491 F.3d 95 (2d Cir. 2007).

 Here, defendants acted out of a reasonable concern that plaintiff’s association with convicted

 felons and groups advocating hatred and/or the overthrow of the U.S. Government had the

 potential to disrupt the NYPD’s mission “to enhance the quality of life in New York City by

 working in partnership with the community to enforce the law, preserve peace, protect the people,

 reduce     fear,      and   maintain    order.”        See    NYPD       Mission     Statement      at

 https://www.nyc.gov/site/nypd/about/about-nypd/mission.page (last accessed Apr. 17, 2023).

 Therefore, under Pickering, the NYPD was reasonable in taking action against plaintiff for

 wrongfully and knowingly associating with an individuals who engaged in criminal activities

 given the disruption this association can cause. Thus, Plaintiff’s expressive association claim fails

 as a matter of law.

 C.       Plaintiff’s New York Labor Law Claim

                    Plaintiff’s Opposition does not address defendants’ argument there are no

 allegations in the SAC that plaintiff engaged in “political” activities outside his working hours that

 would receive protection under New York State Labor Law § 201-d. Rather, Plaintiffs’ Opposition

 puzzlingly attributes an argument and a quote to defendants that does not appear in defendants’

 moving brief. As such, defendants respectfully refer the Court to the actual arguments made in

 their moving brief in connection with plaintiff’s § 201-d claim.
                                                   7
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 10 of 12 PageID #: 297




 D.     Plaintiff’s Monell Claim

                For municipality liability to attach under § 1983, a plaintiff must prove that a policy

 or custom caused a violation of their constitutional rights. Monell v. Dep’t of Social Services, 436

 U.S. 658, 690 (1978). Even where a plaintiff is able to identify a policy or custom, unconstitutional

 acts carried out by a municipality’s employees may not alone render the municipality liable. See

 Sorlucco v. N.Y.C. Police Dep’t., 971 F.2d 864, 870 (2d Cir. 1992). Plaintiff must establish a causal

 connection – an “affirmative link” – between the policy and deprivation of a constitutional right.

 Vippolis v. Vill. of Haverstraw, 768 F.2d 40, 44 (2d Cir. 1985). Municipal liability will not attach

 unless the policy was the basis of plaintiff’s constitutional deprivation. See Dwares v. City of N.Y.,

 985 F.2d 94, 100 (2d Cir. 1993) (a municipal liability claim requires plaintiff to show that the city

 made a deliberate choice, implemented through the policy or custom alleged, that acted as the

 “moving force” behind the constitutional violation), overruled on other grounds by Leatherman v.

 Tarrant Co. Narcotics Intel. & Coordination Unit, 507 U.S. 163, 164 (1993). Where, as here, there

 is no constitutional violation, there can be no municipal liability. See City of Los Angeles v. Heller,

 475 U.S. 796, 799 (1986) (a municipality is not liable under § 1983 where no constitutional

 violation occurred).

 E.     Plaintiff’s Newfangled Article 78 Claims

                It appears as though Plaintiff’s Opposition is now attempting to restyle his

 constitutional claims as one sounding in the arbitrary and capricious standard typically applied to

 proceedings brought pursuant to CPLR Article 78. In so doing, Plaintiff’s Opposition argues that

 defendants’ decision to terminate plaintiff based on his knowing association with convicted felons

 and his provision of armed security for a convicted felon is arbitrary given that the NYPD did not

 terminate those responsible for permitting the recording artist Cardi B access to a NYPD facility



                                                   8
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 11 of 12 PageID #: 298




 to perform community service. In so doing, it appears as though plaintiff is arguing that defendants

 themselves violated Patrol Guide § 203-10(2)(c) by permitting this community service to occur in

 the presence of NYPD officers. Permitting community service to be performed in the presence of

 NYPD officers is completely dissimilar to actively seeking out and maintaining a voluntary

 friendship with a convicted felon and then performing armed security duties for the same felon.

                Further, plaintiff’s newly asserted claim that his termination was “arbitrary and

 capricious” because the NYPD disciplined him but not those involved in the Cardi B incident is

 entirely belied by the evidence plaintiff presents in opposition to this motion. The news articles

 submitted by plaintiff demonstrate that the NYPD personnel who – according to plaintiff – was

 responsible for arranging for Cardi B to visit an NYPD facility is no longer employed by the

 NYPD. Thus, even if the Court were to consider this sensational argument, it is without merit and,

 nevertheless, would be time-barred by the four-month statute of limitations applicable to the

 Article 78 claim essentially advanced here.

 F.     The Individual Defendants are Entitled to Qualified Immunity

                The qualified immunity doctrine protects government officials from liability for

 civil damages if their conduct does not violate clearly established statutory or constitutional rights

 that a reasonable person would have known about. Messerschmidt v. Millender, 565 U.S. 535,

 546 (2012) (quotation marks omitted). Here, given that the NYPD followed proper protocols in

 investigating and charging plaintiff and that the findings against plaintiff were supported by

 evidence after a full adversarial hearing, it was objectively reasonable for the individual defendants

 herein to rely on those findings and believe they were acting lawfully and in accord with the

 evidence adduced through the appropriate processes. Thus, there was simply no way the individual

 defendants could have understood that disciplining plaintiff for his admitted misconduct was



                                                   9
Case 1:22-cv-05109-FB-VMS Document 34 Filed 06/08/23 Page 12 of 12 PageID #: 299




 allegedly unconstitutional. Thus, all claims against defendants Sewell, Hart, Cutter and Orenstein

 individually must be dismissed.

                                          CONCLUSION

                For the foregoing reasons, and for those set forth in defendants’ moving papers,

 defendants respectfully request that the Court grant their motion to dismiss the SAC, that the SAC

 be dismissed in its entirety and that defendants be granted costs, fees, and disbursements together

 with such other and further relief as this Court deems just and proper.

 Dated:         New York, New York
                June 8, 2023


                                              HON. SYLVIA O. HINDS-RADIX
                                              Corporation Counsel of the
                                                City of New York
                                              Attorney for Defendants
                                              100 Church Street, Room 2-100
                                              New York, New York 10007-2601
                                              (212) 356-4015
                                              aoconnor@law.nyc.com


                                              By:
                                                                   Andrea O’Connor
                                                             Assistant Corporation Counsel




                                                 10
